          Case 1:22-cv-02456-LKG Document 9 Filed 11/02/22 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                               )
 OLCAN III PROPERTIES, LLC,                    )
                                               )
        Plaintiff,                             )       Civil Action No. 22-cv-02456-LKG
                                               )
 v.                                            )       Dated: November 2, 2022
                                               )
 AMERICAN TOWER CORPORATION,                   )
                                               )
        Defendant.                             )
                                               )

                                    SCHEDULING ORDER
       On October 18, 2022, the parties filed a joint motion to allow amendment of the
complaint and set a deadline for responsive pleading, advising that plaintiff intends to file an
amended complaint and requesting that the Court extend the deadline for defendant to file a
responsive pleading. ECF No. 8.

       In light of the foregoing, the Court: (1) GRANTS the parties’ joint motion (ECF No. 8)
and (2) ORDERS that:

       a. Plaintiff shall FILE an amended complaint on or before November 15, 2022; and

       b. Defendant shall ANSWER, or otherwise respond to, the amended complaint on or
           before December 6, 2022.



       IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge
